         Case 9:17-cv-00120-DLC Document 22 Filed 07/16/18 Page 1 of 1




                       UNITED STATES DISTRICT COURT
                           DISTRICT OF MONTANA
                            MISSOULA DIVISION


FRIENDS OF THE WILD SWAN, et                    Case No. CV-17-120-M-DLC
al.,
                                               JUDGMENT IN A CIVIL CASE
                      Plaintiffs,

  vs.

RICH KEHR, et al,

                      Defendants.



        Jury Verdict. This action came before the Court for a trial by jury. The
 issues have been tried and the jury has rendered its verdict.

 X     Decision by Court. This action came before the Court for bench trial,
 hearing, or determination on the record. A decision has been rendered.

       IT IS ORDERED AND ADJUDGED that judgment is entered in favor of
 the Forest Service and against Plaintiffs in accordance with the order issued on
 today's date.

        Dated this 16th day of July, 2018.

                                    TYLER P. GILMAN, CLERK

                                    By: /s/ A.S. Goodwin
                                    A.S. Goodwin, Deputy Clerk
